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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

R.F. Technologies, Inc., et al.
                                       Plaintiff,
v.                                                        Case No.: 1:17−cv−01886
                                                          Honorable Sara L. Ellis
Thomas O'Leary, et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, March 19, 2019:


        MINUTE entry before the Honorable Sara L. Ellis: Status hearing held on
3/19/2019. Referral to Magistrate Judge Kim for settlement conference. Status hearing set
for 5/21/2019 at 9:30 AM. Mailed notice(rj, )




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